Case 1:20-cv-01366-MSK Document 4 Filed 05/14/20 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-01366-GPG
(The above civil action number must appear on all future papers
  sent to the court in this action. Failure to include this number
  may result in a delay in the consideration of your claims.)

ANDREA C. JOHNSTON,

       Plaintiff,

v.

COMMISSIONER, SOCIAL SECURITY ADMINISTRATION,

       Defendant.


           ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS
                           AND DRAWING CASE


       Plaintiff Andrea C. Johnston resides in Littleton, Colorado. On May 13, 2020,

she filed pro se a Complaint for Judicial Review of Social Security Decision (ECF No.

1) 1 and an Application to Proceed in District Court Without Prepaying Fees or Costs

(Long Form) (ECF No. 3). Plaintiff will be granted leave to proceed in forma pauperis

under 28 U.S.C. § 1915 solely based on inability to prepay fees or give security therefor.

       Upon completion of the Court’s review of the Complaint (ECF No. 1) pursuant to

D.C.COLO.LCivR 8.1(a), the Court has determined that this case does not appear to be

appropriate for summary dismissal. Therefore, the case will be assigned to the AP

docket for further review. See D.C.COLO.LAPR 10.3.


1
 "(ECF No. 1)" identifies the docket number assigned to a specific paper by the court's case
management and electronic case filing system (CM/ECF). This manner of identifying a
document on the electronic docket is used throughout this order.

                                               1
Case 1:20-cv-01366-MSK Document 4 Filed 05/14/20 USDC Colorado Page 2 of 2




       Plaintiff is informed that she may choose to contact the Federal Pro Se Clinic at

(303) 380-8786 or https://www.cobar.org/cofederalproseclinic for possible assistance in

this matter.

       Accordingly, it is

       ORDERED that the Application to Proceed in District Court Without Prepaying

Fees or Costs (Long Form) (ECF No. 3) is GRANTED. It is

       FURTHER ORDERED that this case shall be placed on the AP docket.

       DATED May 14, 2020.

                                                 BY THE COURT:




                     Gordon P. Gallagher
                     United States Magistrate Judge




                                             2
